  Case: 1:19-cv-00189-MRB Doc #: 104 Filed: 04/20/21 Page: 1 of 3 PAGEID #: 3012




                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 SLUSH PUPPIE LIMITED,                          ) Case No. 1:19-cv-00189-MRB
                                                )
                Plaintiff,                      ) Judge Michael R. Barrett
                                                )
         vs.                                    ) Magistrate Judge Bowman
                                                )
 THE ICEE COMPANY,                              )
                                                )
                Defendant.                      )


    REPLY MEMORANDUM IN SUPPORT OF MOTION TO STRIKE OR TO NOT
   CONSIDER DEFENDANT THE ICEE COMPANY’S REPLY MEMORANDUM OF
   LAW IN SUPPORT OF ITS MOTION FOR SANCTIONS (DOC. # 98), OR IN THE
          ALTERNATIVE, MOTION FOR LEAVE TO FILE SUR-REPLY


       ICEE’s Opposition to the Motion to Strike effectively admits its 277-page “Reply” was out

of line for multiple reasons. Indeed, it has no objection to the request for a “full” response to its

renewed Motion for Sanctions that dwarfed its original filing. (Doc. # 102, PageID # 2862).

Despite ICEE’s argument that its 277-page “Reply” necessitates a Sur-Reply, the Motion to Strike

should be granted because ICEE fails to adequately respond to the Motion to Strike.

       First, ICEE makes no argument – much less denies – that its Motion for Sanctions did not

comport with due process. (Doc. # 102, PageID # 2860-2861) (failing to argue that ICEE complied

with due process within ICEE’s original Motion to Strike).

       Second, ICEE’s disingenuous assertion it complied with Loc. R. 7.2(e) because the factual

“chronology” was actually a “demonstrative exhibit” has been tried and rejected. See, e.g.,

Numatics, Inc. v. H.H. Balluff, Inc., No. 13-11049, 2014 U.S. Dist. LEXIS 156914, at *2 (E.D.

Mich. Nov. 6, 2014) (granting a motion to strike to where an attorney attempted to avoid the page

limitation of the local rule by attaching “facts” as “an appendix to the brief.”). Calling a statement
  Case: 1:19-cv-00189-MRB Doc #: 104 Filed: 04/20/21 Page: 2 of 3 PAGEID #: 3013




of facts a “demonstrative exhibit” is simply a transparent ploy to skirt the Local Rules. ICEE’s

lack of candor here, alone, mandates the Reply should be stricken.

       Third, ICEE’s demand for an oral argument is simply an attempt by ICEE to have another

opportunity to make arguments, which should have been made in its Motion for Sanctions. See

Memorandum in Opposition Motion for Sanctions (Doc. # 95, PageID # 2440-2442). Simply,

ICEE was required to put forth the entire basis for its Motion for Sanctions in that Motion. It failed

to do so. It cannot remedy that through an oral argument or its 277-page renewed Motion for

Sanctions, disguised as a “Reply.” The “Reply” should be stricken.

                                                      Respectfully submitted,

                                                      /s/ Patrick Kasson
                                                      Patrick Kasson (0055570) (Trial Attorney)
                                                      Steven A. Chang (0088321)
                                                      REMINGER CO., L.P.A.
                                                      200 Civic Center Drive, Suite 800
                                                      Columbus, Ohio 43215
                                                      (614) 228-1311 / Fax: (614) 232-2410
                                                      pkasson@reminger.com
                                                      schang@reminger.com

                                                      Robert W. Hojnoski (0070062)
                                                      Ian D. Mitchell (0090643)
                                                      REMINGER CO., L.P.A
                                                      525 Vine Street, Suite 1500
                                                      Cincinnati, Ohio 45202
                                                      (513) 721-1311 / Fax: (513) 721-2553
                                                      rhojnoski@reminger.com
                                                      imitchell@reminger.com

                                                      Counsel for Non-Parties Benesch,
                                                      Friedlander, Coplan & Aronoff LLP, Mark
                                                      Avsec, Elizabeth R. Emanuel, Matthew D.
                                                      Gurbach, Ronald L. House, Jennifer M. Turk,
                                                      and Eric Larson Zalud




                                                  2
  Case: 1:19-cv-00189-MRB Doc #: 104 Filed: 04/20/21 Page: 3 of 3 PAGEID #: 3014




                                 CERTIFICATE OF SERVICE


       I hereby certify that on April 20, 2021 a copy of the foregoing was filed electronically.

Notice of this filing will be sent by operation of the Court’s electronic filing system to all parties

indicated on the electronic filing receipt. Parties may access this filing through the Court’s system.

                                                      /s/ Patrick Kasson
                                                      Robert W. Hojnoski (0070062)




                                                  3
